                                                                                                                                                      12/26/17 4:23PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     William
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Madison
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Swayne, III
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0890
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 1
                    Case 17-15534-MLB                 Doc 1         Filed 12/26/17           Ent. 12/26/17 16:24:32                  Pg. 1 of 22
                                                                                                                                                      12/26/17 4:23PM

Debtor 1   William Madison Swayne, III                                                                    Case number (if known)




                                 About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                        I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                  Business name(s)
     doing business as names

                                 EINs                                                              EINs




5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                 208B 119th St. SE
                                 Everett, WA 98208
                                 Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                 Snohomish
                                 County                                                            County

                                 If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any         in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                           mailing address.

                                 809 Fairview Place North
                                 Suite 130
                                 Seattle, WA 98109
                                 Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                        Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,                Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any                   have lived in this district longer than in any other
                                        other district.                                                    district.

                                        I have another reason.                                             I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                   Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                 Case 17-15534-MLB                  Doc 1        Filed 12/26/17               Ent. 12/26/17 16:24:32                Pg. 2 of 22
                                                                                                                                                     12/26/17 4:23PM

Debtor 1    William Madison Swayne, III                                                                   Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
                Case 17-15534-MLB                    Doc 1         Filed 12/26/17           Ent. 12/26/17 16:24:32                 Pg. 3 of 22
                                                                                                                                                  12/26/17 4:23PM

Debtor 1    William Madison Swayne, III                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                 Case 17-15534-MLB                  Doc 1        Filed 12/26/17             Ent. 12/26/17 16:24:32                  Pg. 4 of 22
                                                                                                                                                    12/26/17 4:23PM

Debtor 1    William Madison Swayne, III                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                            You must check one:
    you have received a                  I received a briefing from an approved credit                  I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a               this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                     completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                  I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have              this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                   of completion.
     file.
                                         Within 14 days after you file this bankruptcy                  Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and          MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                          any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                      from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                   those services during the 7 days after I made my
                                         days after I made my request, and exigent                      request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                  temporary waiver of the requirement.
                                         of the requirement.
                                                                                                        To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                    attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why              before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for              circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                        with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                     filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                      If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must          receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.        file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                  copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you              not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                        Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                        cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                         credit counseling because of:                                  counseling because of:

                                               Incapacity.                                                   Incapacity.
                                               I have a mental illness or a mental deficiency                I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                       makes me incapable of realizing or making rational
                                               making rational decisions about finances.                     decisions about finances.

                                               Disability.                                                   Disability.
                                               My physical disability causes me to be                        My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I               through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                    do so.

                                               Active duty.                                                  Active duty.
                                               I am currently on active military duty in a                   I am currently on active military duty in a military
                                               military combat zone.                                         combat zone.
                                         If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.            of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 5
                 Case 17-15534-MLB                     Doc 1        Filed 12/26/17             Ent. 12/26/17 16:24:32             Pg. 5 of 22
                                                                                                                                                       12/26/17 4:23PM

Debtor 1    William Madison Swayne, III                                                                   Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ William Madison Swayne, III
                                 William Madison Swayne, III                                       Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     December 26, 2017                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
                Case 17-15534-MLB                    Doc 1       Filed 12/26/17               Ent. 12/26/17 16:24:32                  Pg. 6 of 22
                                                                                                                                                    12/26/17 4:23PM

Debtor 1   William Madison Swayne, III                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael M. Feinberg                                            Date         December 26, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael M. Feinberg 11811
                                Printed name

                                Karr Tuttle Campbell
                                Firm name

                                701 Fifth Avenue
                                Suite 3300
                                Seattle, WA 98104
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                Email address

                                11811
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                Case 17-15534-MLB                     Doc 1              Filed 12/26/17   Ent. 12/26/17 16:24:32                   Pg. 7 of 22
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                        AMIR H. HEMMAT ET AL
                        C/O CATANZARITE LAW CORPORATIO
                        2331 WEST LINCOLN AVENUE
                        ANAHEIM, CA 92801


                        APTAKER, STANLEY
                        PO BOX 10546
                        BEVERLY HILLS, CA 90213-3546


                        BALES FLP
                        1783 CANEBROOK GLEN
                        YORK, SC 29745-7688


                        BALES, JAY
                        211 DANDY PASS RD
                        CLE ELUM, WA 98922


                        BALES, ROBIN
                        1783 CANEBROOK GLEN
                        YORK, SC 29745-7688


                        BARRETT, JUSTIN AND KATHY
                        12 CURVE STREET
                        WALTHAM, MA 02451


                        BATTS, JOHN
                        4950 132ND AVE NE
                        BELLEVUE, WA 98005


                        BATTS, KATHERINE
                        21815 SR9 SE
                        WOODINVILLE, WA 98072


                        BATTS, RICHARD
                        12505 198TH ST SE
                        SNOHOMISH, WA 98296


                        BATTS, WILLIAM
                        4007 SHELBY ROAD
                        LYNNWOOD, WA 98037


                        BAUMUELLER, EDWARD AND BARBARA
                        7298 NE WILLIAM ROGER ROAD
                        INDIANOLA, WA 98342




    Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 8 of 22
                    BEACH, DONALD & CAROLYN
                    16352 TUKWILA RD
                    POULSBO, WA 98370


                    BERG, PAUL AND LENORA
                    1326 S PETTERSON RD NE
                    KEYPORT, WA 98345


                    BERMAN, ELIZABETH
                    510 57TH ST
                    PORT TOWNSEND, WA 98368


                    BINTASAN, SUNIDA
                    16115 S WASHINGTON ST
                    SEATTLE, WA 98144


                    BIRCHMAN, JOEL AND HEATHER
                    8201 EAGLE RIDGE LANE SE
                    OLYMPIA, WA 98513


                    BOEING EMPLOYEES CREDIT UNION
                    PO BOX 97050
                    SEATTLE, WA 98124


                    BOZARTH, DRAKE
                    1201 24TH AVE COURT, APT C
                    MILTON, WA 98354


                    BRASHEN, RICHARD AND JANET
                    102 131ST AVE NE
                    BELLEVUE, WA 98005


                    BRAWFORD, HUGH
                    8100 COMOX RD
                    BLAINE, WA 98230


                    BYSTROM, KEITH AND DEBRA
                    3801 59TH AVE SW
                    SEATTLE, WA 98116-3511


                    CARLSON, LARRY
                    1157 8TH AVE SOUTH
                    EDMONDS, WA 98020




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 9 of 22
                    CAYCE, ROGER
                    3428 BEACH DR SW
                    SEATTLE, WA 98116


                    CHAN, CHI CHUAN
                    10060 SE 16TH ST
                    BELLEVUE, WA 98004


                    CHRYSALIS INVESTMENTS, LLC
                    8569 GRAND AVE NE
                    BAINBRIDGE ISLAND, WA 98110


                    COLBECK, JAMES AND SUE
                    6534 48TH AVE NE
                    SEATTLE, WA 98115


                    CULP, DOREEN
                    41 BROADMOOR CT
                    SAN RAMON, CA 94583


                    CURTIS, ALLEN AND MARGE
                    21811 HWY 9
                    WOODINVILLE, WA 98072


                    EVERETT CLINIC ARMADA
                    ARMADA CORP
                    6101 CAPITAL BLVD SE, STE C
                    OLYMPIA, WA 98501


                    FINCH, GARY AND SANDRA
                    4709 COUNTY RD E
                    ORLAND, CA 95963


                    FINRA
                    RE: 13-01600
                    2 MORRISSEY BLVD.
                    BOSTON, MA 02125


                    FLORESCA, JOSE AND CINDY
                    1436 19TH AVE
                    SEATTLE, WA 98122


                    GARBER, DAVID
                    5015 139TH PL SE,
                    BELLEVUE, WA 98006



Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 10 of 22
                    GERTZ, SUSAN
                    229 36TH AVE E
                    SEATTLE, WA 98112


                    GIERLANSKI, NORMAN
                    321 3RD ST #203
                    KIRKLAND, WA 98033


                    GILBERT, PETER AND KENLYNN
                    14461 NE 12TH PL
                    BELLEVUE, WA 98007


                    GIRMUS, GERALD AND MILLIE
                    2128 NW 199TH
                    SEATTLE, WA 98177


                    GLOVER, DENNY
                    PO BOX 726
                    MOSES LAKE, WA 98837


                    GOULD, CHUCK AND JAN
                    2427 11TH AVE W
                    SEATTLE, WA 98119


                    GREER, JAMES
                    14718 EDGEWATER LANE NE
                    SEATTLE, WA 98155


                    HAGEMAN, BRADFORD
                    5817 192ND ST SE
                    SNOHOMISH, WA 98296


                    HANSEN, MELVIN AND BERTELLA
                    2516 NORWAY RD
                    FERNDALE, WA 98248


                    HARDY, DONALD
                    5511 168TH ST SW
                    LYNNWOOD, WA 98037-3020


                    HARTLEY, PATRICK
                    229 36TH AVE E
                    SEATTLE, WA 98112




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 11 of 22
                    HARVEY, RAYMOND
                    4924 116TH PL SE
                    BELLEVUE, WA 98006


                    HAWK, CHARLIE AND ROSEMARY
                    4460 ROCKAWAY BEACH RD NE
                    BAINBRIDGE ISLAND, WA 98110


                    HEMMAT, HARRY AND SELMA
                    7030 78TH AVE SE
                    MERCER ISLAND, WA 98040


                    HEMMAT, NAHID
                    9 VALLEY WAY
                    MENDHAM, NJ 07945


                    HENDERSON, CHUCK
                    7620 CHICO WAY NW
                    BREMERTON, WA 98312


                    HILDEBRANDT, JACK
                    2260 EAST LOUISA STREET
                    SEATTLE, WA 98112


                    HIRATA, CLYDE
                    18822 MT CIMARRON ST.
                    FOUNTAIN VALLEY, CA 92708


                    HOLMES, JOE
                    508 HILLSIDE DR E
                    SEATTLE, WA 98112


                    HORNIBROOK, JOHN AND REIKO
                    1919 122ND AVE SE
                    BELLEVUE, WA 98005-4625


                    HUDSON, JACK AND MICHELLE
                    1986 PORTSMOUTH DR
                    EL DORADO HILLS, CA 95762


                    HUNTSINGER, VIRGIL AND CHARLOT
                    2925 MAYFAIR NORTH
                    SEATTLE, WA 98109




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 12 of 22
                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPS
                    PO BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    INTERNAL REVENUE SERVICE
                    ATTN: BANKRUPTCY/INSOLVENCY
                    915 SECOND AVENUE, M/S W244
                    SEATTLE, WA 98174


                    JOHNSON, TODD AND DIANA
                    305 FIELDSTONE DR
                    BOZEMAN, MT 59715


                    JUNG, KYLE
                    1029 CANDLEWICKE COURT
                    GLENDORA, CA 91740


                    JUNG, LARRY
                    1029 CANDLEWICKE COURT
                    GLENDORA, CA 91740


                    KAISER, CAROL
                    10037 WALLINGFORD AVE N
                    SEATTLE, WA 98133


                    KAYLOR, SUSIE
                    2612 W. VIEWMONT WAY W,
                    SEATTLE, WA 98199


                    KELLER, EARL AND RUTH
                    24604 8TH AVE S
                    SEATTLE, WA 98198


                    KELLY, NAOMI
                    10065 WALLINGOFRD AVE N
                    SEATTLE, WA 98133


                    KING, ELIZABETH
                    23423 BRIER ROAD
                    LYNNWOOD, WA 98036


                    KING, KAREN
                    508 HILLSIDE DR E
                    SEATTLE, WA 98112



Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 13 of 22
                    KING-SMITH, LUCIGUELA
                    620 EAST WASHINGTON AVE
                    BURLINGTON, WA 98233


                    KOCH, DAN
                    423 NORTH G STREET
                    TACOMA, WA 98403


                    KOSUGI, BECKY
                    2949 81ST AVE SE
                    MERCER ISLAND, WA 98040


                    LABCORP
                    PO BOX 2240
                    BURLINGTON, NC 27216


                    LAIGO LIVING TRUST
                    3938 WHITMAN AVE N
                    SEATTLE, WA 98103


                    LALL, CHANDER
                    4710 SOMERSET AVE SE
                    BELLEVUE, WA 98006


                    LAMPKIN, SHIRLEY
                    2260 EAST LOUISA STREET
                    SEATTLE, WA 98112


                    LAMPKIN, STEVE
                    1029 S HAMLIN AVE
                    PARK RIDGE, IL 60068


                    LANE, ARTHUR AND ELEANOR
                    3501 W HOWE STREET
                    SEATTLE, WA 98199


                    LATIMER AND ASSOCIATES
                    1206 FIFITH ST
                    MANHATTAN BEACH, CA 90266


                    LATIMER, ROSS
                    1206 FIFITH ST.
                    MANHATTAN BEACH, CA 90266




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 14 of 22
                    LAU, HELEN
                    4613 NE 18TH ST
                    RENTON, WA 98059


                    LEA, ISABEL
                    3938 WHITMAN AVE N
                    SEATTLE, WA 98103


                    LEWIS, BOB AND SHIRLEY
                    1401 TACOMA POINT DR E
                    SUMNER, WA 98390


                    LINDAHL, ERIC AND MARILYN
                    9562 LAKESHORE BLVD NE
                    SEATTLE, WA 98115


                    LOWE, JOHN AND DONNA
                    11510 QUAIL LANE
                    EDMONDS, WA 98020


                    M. HEINEMANN & C. PHISUTHIKUL
                    C/O KROONTJE LAW OFFICE PLLC
                    600 UNIVERSITY STREET, SUITE 1
                    ONE UNION SQUARE
                    SEATTLE, WA 98101


                    MAR CHINN, GLADYS
                    5128 55TH AVE S,
                    SEATTLE, WA 98118


                    MAR FAMILY LLC
                    5128 55TH AVE S
                    SEATTLE, WA 98118


                    MARR, DOUG AND JOAN
                    1625 VAN WYCK RD
                    BELLINGHAM, WA 98226


                    MASON, DIANE
                    9721 11TH AVE NW
                    SEATTLE, WA 98177


                    MATHERS, WILLIAM AND DIANE
                    2924 W EATON ST
                    SEATTLE, WA 98199



Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 15 of 22
                    MCCOMBS, REY
                    2130 S HARMONY CIRCLE
                    SAINT GEORGE, UT 84790-8314


                    MCGRATH, TOM
                    1633 SHANADIAH DR E
                    SEATTLE, WA 98112


                    MCMICHAEL, RICK
                    13840 18TH AVE SW
                    SEATTLE, WA 98166-1049


                    MERCER, JUDITH
                    5015 139TH PL SE
                    BELLEVUE, WA 98006


                    METCALF, TED
                    3938 WHITMAN AVE N
                    SEATTLE, WA 98103


                    METCALF, TERESA
                    3938 WHITMAN AVE N
                    SEATTLE, WA 98103


                    MEYERS, WAYNE
                    850 NORTHSTREAM LANE
                    EDMONDS, WA 98020


                    MEZISTRANO, LEO AND SYLVIA
                    7409 SE 71ST
                    MERCER ISLAND, WA 98040


                    MORAN, JOHN
                    22784 6TH ST
                    HAYWARD, CA 94541


                    MOUNTAIN CREST CREDIT UNION
                    3710 168TH STREET NE STE A108
                    ARLINGTON, WA 98223


                    MULLER, PETER
                    708 NW 121ST CIRCLE
                    VANCOUVER, WA 98685-3800




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 16 of 22
                    MUNKERS, JAMES
                    164 BROKEN PUTTER WAY
                    LAS VEGAS, NV 89148


                    NCO FINANCIAL
                    33400 8TH AVE S, STE 100
                    FEDERAL WAY, WA 98003


                    NG, LIONEL
                    10060 SE 16TH ST
                    BELLEVUE, WA 98004


                    NOREEN, KEN AND PEARL
                    2628 NW 205TH ST
                    SEATTLE, WA 98177


                    OTT, KEN AND KAREN
                    23905 139TH PL SE
                    KENT, WA 98042


                    PARSONS, DEAN
                    1512 SKYLINE DR
                    WENATCHEE, WA 98801


                    PCS INC.
                    1099 REGENTS BLVD STE 101
                    TACOMA, WA 98464


                    PENWELL, DAVID
                    6055 MONFORTON SCHOOL ROAD
                    BOZEMAN, MT 59718


                    POLLOM, BRIAN
                    2025 218TH PL NE
                    SAMMAMISH, WA 98074


                    POLLOM, DARCY
                    13610 SE 5TH ST
                    BELLEVUE, WA 98005


                    POLSKY, GLORIA
                    122 STATE STREET
                    KIRKLAND, WA 98033




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 17 of 22
                    PRESSEY, CHRIS
                    PO BOX 40173
                    BELLEVUE, WA 98015


                    QUARNSTROM, FRED
                    5767 S OAKLAWN PL
                    SEATTLE, WA 98118


                    RAMEY, DEBRA
                    8820 EARL AVE NW
                    SEATTLE, WA 98117-3844


                    RANDALL, LLOYD
                    3380 NW SOUTH RD
                    PORTLAND, OR 97229


                    RICE, HERMAN
                    8531 W 129TH ST
                    MINNEAPOLIS, MN 55426


                    RICHARDS, JAMES
                    5511 168TH ST SW
                    LYNNWOOD, WA 98037-3020


                    ROBB, PAUL AND LAURA
                    26905 HAKE RD SW
                    VASHON, WA 98070


                    ROBERTS, JAMES AND PATRICIA
                    14777 NE 40TH ST, SUITE 101
                    BELLEVUE, WA 98007


                    ROBERTS, JERRY AND NANCY
                    14777 NE 40TH ST, SUITE 101
                    BELLEVUE, WA 98007


                    ROBINSON, RANDALL AND JEANNE
                    10421 SW BANK RD #11
                    VASHON, WA 98070


                    RUBENACK, DON AND JANET
                    5913 NOON RD
                    BELLINGHAM, WA 98226




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 18 of 22
                    RUST, JOHN
                    290 CIRCLE DRIVE
                    SANTA FE, NM 87501


                    SCHEIDT, THOMAS
                    5400 N VIRGINIA AVE
                    CHICAGO, IL 60625


                    SCHUELER, RAY AND JANEEN
                    17331 NE 18TH PL
                    BELLEVUE, WA 98008


                    SEATTLE CHILDRENS
                    4800 SAND POINT WAY NE
                    SEATTLE, WA 98105


                    SEBITS, GEORGE
                    1009 ROBLE LANE
                    SANTA BARBARA, CA 93103


                    SEGALL, JOAN
                    1914 N 80TH ST
                    SEATTLE, WA 98103


                    SETTERBERG, RICHARD AND ARDEN
                    16738 27TH AVE SW
                    SEATTLE, WA 98166


                    SHAUN TRAN AND DING LIEU
                    1426 243RD PL SW
                    BOTHELL, WA 98021


                    SHIPPEN, MATTHEW AND ELANA
                    18101 SUNSET WAY
                    EDMONDS, WA 98026


                    SILVEANU, RADU
                    418 W OAKDALE
                    CHICAGO, IL 60657


                    SMITH, LELAND AND GRACE
                    1208 2ND ST
                    KIRKLAND, WA 98033




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 19 of 22
                    SNOHMISH COUNTY TREASURER
                    ATTN: BANKRUPTCY OFFICER
                    3000 ROCKEFELLER AVE. M/S 501
                    EVERETT, WA 98204


                    SNOW, STEPHEN
                    1840 N 184TH ST
                    SEATTLE, WA 98133


                    SPORTELLI, DOMINIC AND LOUISE
                    9022 21ST AVE NW
                    SEATTLE, WA 98177


                    STRECKER-TERRY, LUCY
                    521 5TH AVE W #603
                    SEATTLE, WA 98119


                    STURMAN, LARRY AND ROCHELLE
                    3636 113TH AVE NE
                    BELLEVUE, WA 98004


                    SUMMERALL, JERRY
                    6524 ROBINSON ROAD
                    KUNA, ID 83634


                    SWEDISH MILL CREEK
                    13020 MERIDIAN AVE S
                    EVERETT, WA 98208


                    TAKAHASHI, REID
                    3229 EMERALD ISLE DRIVE
                    GLENDALE, CA 91206


                    UNITED STATES ATTORNEY
                    ATTN: BANKRUPTCY ASSISTANT
                    US COURTHOUSE
                    700 STEWART ST, RM 5220
                    SEATTLE, WA 98101


                    VADNAIS, VICKY
                    15636 SE RENTON-ISSAQUAH RD
                    RENTON, WA 98059




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 20 of 22
                    VANDERMOLEN, CARL
                    56 PARK PLAZA RD
                    BOZEMAN, MT 59715


                    VOYE, DENNIS
                    1601 QUAIL DRIVE
                    ANACORTES, WA 98221


                    WA STATE DEPT. OF L & I
                    BANKRUPTCY & SPECIALTY COLLECT
                    P.O. BOX 44171
                    OLYMPIA, WA 98504-4170


                    WA STATE DEPT. OF REVENUE
                    BANKRUPTCY/CLAIMS UNIT
                    2101 4TH AVE #1400
                    SEATTLE, WA 98121


                    WA STATE EMPLOYMENT SECURITY
                    DEPARTMENT, UI TAX ADMIN
                    P.O. BOX 9046
                    OLYMPIA, WA 98507-9046


                    WA. STATE - ATTORNEY GENERAL
                    BANKRUPTCY & COLLECTIONS UNIT
                    800 FIFTH AVE. STE #2000
                    SEATTLE, WA 98104


                    WAITS, TIMOTHY AND LINDA
                    2001 7TH AVE
                    SACRAMENTO, CA 95818


                    WATKINS, JOHN AND LINDA
                    1209 LAKEVIEW
                    BELLINGHAM, WA 98229


                    WEHL, HANS
                    1254 108TH AVE NE
                    BELLEVUE, WA 98004


                    WEST, JOHN AND CONNIE
                    6228 24TH AVE NE
                    SEATTLE, WA 98115




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 21 of 22
                    WILSHIN, DAN AND MARILYN
                    2805 NW PINECONE DR
                    ISSAQUAH, WA 98027


                    WMS FINANCIAL PLANNERS, INC.
                    809 FAIRVIEW PL N, STE 130
                    SEATTLE, WA 98109


                    YANG, DOROTHY
                    2949 81ST AVE SE
                    MERCER ISLAND, WA 98040


                    YIN, EUNICE
                    4131 205TH AVE SE
                    SAMMAMISH, WA 98075


                    YUEN, SHAN
                    4613 NE 18TH ST
                    RENTON, WA 98059




Case 17-15534-MLB   Doc 1   Filed 12/26/17   Ent. 12/26/17 16:24:32   Pg. 22 of 22
